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               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF ALABAMA
                        NORTHERN DIVISION

GOLDEN STATE FOODS CORP.,                  )
                                           )
             Plaintiff,                    )
                                           )
      v.                                   )   CASE NO. 3:18-cv-1020-ALB
                                           )
GEA SYSTEMS NORTH                          )
AMERICA LLC, et al.,                       )
                                           )
             Defendants.                   )

                                     ORDER

      This matter comes before the Court on Plaintiff Golden State Foods Corp.’s

Motion to Dismiss (Doc. 65) and Defendants’ Motion to Dismiss for Lack of Subject

Matter Jurisdiction (Doc. 41). Upon consideration, those motions are GRANTED.

The parties agree that the Court lacks subject matter jurisdiction over this dispute

because there is not complete diversity of citizenship. See 28 U.S.C. § 1332. Having

reviewed the citizenship allegations in the Complaint (Doc. 1), Plaintiff’s Response

to the motion to dismiss (Doc. 61), and the evidentiary materials attached to the

Reply in support of the motion to dismiss (Doc. 62), the Court is also convinced that

it lacks subject matter jurisdiction.    Accordingly, the Complaint (Doc. 1) is

DISMISSED WITHOUT PREJUDICE for lack of subject matter jurisdiction.

The Clerk is ORDERED to close this case.
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DONE and ORDERED this 18th day of July 2019.


                                  /s/ Andrew L. Brasher
                               ANDREW L. BRASHER
                             UNITED STATES DISTRICT JUDGE




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